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DOCKET NO. 509 Pan

 

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BEFORE THE JUDICIAL PANEL ON MULTIDISTRICT LITIGATION . Wii lea,

IN RE HOUSTON OIL TRUST SECURITIES LITIGATION
ORDER DENYING MOTION AS MOOT

On June 3, 1982, certain defendants in this docket
moved the Panel, pursuant to 28 U.S.C. §1407, for an order
transferring five actions pending in the Southern District
of New York and one action pending in the Central District
of California to the Southern District of Texas for coordinated
or consolidated pretrial proceedindgs with fifteen actions
pending there. Subsequently the actions pending outside
the Southern District of Texas have either been transferred
to that district pursuant to 28 U.S.C. §1404 or dismisseda.l/

IT IS THEREFORE ORDERED that the motion pursuant to
28 U.S.C. §1407 for centralization of actions listed on
the attached Schedule A be, and the same hereby is, DENIED
as moot.

FOR THE PANEL:

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mexiciwAndrew A. Caffrey
Chairman

 

1/ The dismissed actions are Louie B. Terillo, etc. v. Tenneco, Inc.,
et al., C. D. California, C. A. No. 82-1344; Oscar Hyman, etc. v.
Houston Oil Trust, et al., S.D. New York, C. A. No. 82-1435;

Patricia Snitzer, etc. v. Bear Stearns & Co., et al., S. D. New York,
Cc. A. No. 82-1347.
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Schedule A

MDIL-509 -- In re Houston Oil Trust Securities Litigation

Southern District of Texas
Howard Fine v. Houston Oil Trust, et al.,
C.A. No. H-82-551
Esther Nemo, etc. v. First Int'l Bank in Houston, NA, Trustee
of Houston Oil Trust, et al., C.A. No. H-82-552
Anthony Barsanti, et al. v. Houston Oil & Minerals Corp., et
et al., C.A. No. H-82-554
Tillie Targoff, et al. v. Houston Oil & Minerals Corp.,
et al., C.A. No. H-82-555
Denco v. F. Fox Benton, Jr., et al.,
C.A. No. H-82-566
Frederick Rand v. Houston Oil Trust, et al.,
C.A. No. H-82-571
Seymour G. Beinder, et al. v. Houston Oil & Minerals Corp.,
et al., C.A. No. H-82-643
Charlotte Libauer v. F. Fox Benton, Jr., et al.,
C.A. No. H-82-644
Dr. Irvin Rosenberg, etc. v. Houston Oil Trust, et al.,
C.A. No. H-82-645
Marshall J. Danien, etc. v. Houston Oil Trust, et al.,
C.A. No. H-82-646
Rose Cammer, et al. v. Houston Oil Trust, et al.,
C.A. No. H-82-688
Morton B. Konig v. Houston Oil & Minertals Corp., et al.,
C.A. No. H-82-969
Howard Sloan, etc. v. Houston Oil & Minerals Corp., et al.,
C.A. No. H-82-731
Beliaan Gettler, etc. v. F. Fox Benton, Jr., et al.,
C.A. No. H-82-762
Michael Debaets v. Houston Oil & Minerals Corp., et al.,
C.A. No. H-82-1185
Tillie Targoff, et al., etc. v. Houston Oil & Minerals Corp.,
et_al., C.A. No. H-82-1800 (formerly S.D.N.Y., 82 Civ. 1159)
A.P.M.C. Assoc., Inc., etc. v. Houston Oil & Minerals
Corp., et al., C.A. No. H-82-1I799 (formerly S.D.N.Y., 82 Civ. 1836)
Arnold Arlow, etc. v. Houston Oil Trust, et al.,
C.A. No. H-82-1798 (formerly S.D.N.Y., 82 Civ. 1617)

 

 

 

 
